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CHRIST T. TROUPIS

TROUPIS LAW OFFICE P.A.
1299 E. Iron Eagle, Ste 130

P.O. Box 2408

Eagle, Idaho 83616

Ph: (208) 938-5584

Fax: (208) 938-5482

Email: ctroupis@troupislaw.com

JOHN ERIC SUTTON

J.E. SUTTON & ASSOCIATES
200 N. 3 St., Ste 2&3

Boise, Idaho 83701

Ph: (208) 336-4444

Fax: (208) 336-4494

Email: jesutton@jesutton.com

Attorneys for Plaintiff Idaho Republican Party

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO

IDAHO REPUBLICAN PARTY, et.al.,
Plaintiffs,
vs.

BEN YSURSA, In his Official Capacity as
Secretary of State of the State of Idaho,

Defendant.

Case No. 1:08-CV-00165-BLW

AFFIDAVIT OF
LAIRD MAXWELL

Laird Maxwell, being first duly sworn, deposes on oath and states:

1. 1am not a party to this lawsuit. Each of the matters stated herein are known to

me of my personal knowledge and if sworn as a witness, | could testify

competently thereto.

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2. In the 2004 Republican Primaries, | served as a consultant to both Rod Beck and
Henry Kulczyk in their respective races.

3. In Henry Kulezyk’s campaign, we recognized that Stan Bastian was in fact a
Democrat running as a Republican. For that reason, we created campaign
literature that exposed the fact that Bastian was supported by Democrats,
financed by Democrats, had supported other Democrats, and backed Democrat
policy positions on the issues, particularly in the area of education.

4. We were also aware of the fact that cross-over voting occurred in these 2004
races. Crossover voting allowed Hal Bunderson to beat Rod Beck in the primary.
Beck lost by under 400 votes. Kulczyk lost by under 200 against Stan Bastian.
Review of the voting for other offices in the Republican Primary in 2004, including
the Presidential primary and Senator Crapo’s uncontested race establish the
existence and extent of strategic cross-over voting by non-Republicans in the
Beck and Kulczyk races.

5. As acampaign strategy, we always have to figure that we have a 7-10%
crossover effect that we have to overcome, depending on the race and the
analysis therein in this open primary system.

6. We had to do a huge turnout effort in 2004 to try to overcome the crossover
effect for these two races. We just couldn’t overcome it.

7. If the Democrats don’t need to stay home, you have a perfect situation for the

_crossover votes. They vote for the most liberal candidate on the ballot, resulting
in a misrepresentation of the true core of the Republican Party, depriving the

party of the true representation it deserves.

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8. | personally purchased radio ads declaring Stan Bastian and Hal Bundersonas
RINO’s (Republicans In Name Only). | personally and strategically spent money.
on that point alone in the 2004 Primary. Attached hereto, marked Exhibit A, are

true and accurate copies of those radio ads.

FURTHER, AFFIANT SAYETH NOT.

State of Arizona )
) ss.
Gounty of Yavapai )

Subscribed and sworn to before me, a Notary Public:in and for the State of Arizona
onthis /£%. day of January, 2010.

My commission expires:
Residing At:

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CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on this 19"" day of January, 2010, | served a copy of

the foregoing Affidavit of Laird Maxwell by email transmission, addressed to the
following persons:

Gary Allen

Givens Pursley

P.O. Box 2720

Boise, Idaho 83701-2720
garyallen@givenspursley.com

Harry Kresky

LAW OFFICE OF HARRY KRESKY
250 W. 57" Street, Ste 2017

New York, NY 10107
harrykresky@aol.com

Michael S. Gilmore

Karin D. Jones

Deputy Attorneys General

Civil Litigation Division

Office of the Attorney General

954 W. Jefferson Street, Second Level
P.O. Box 83720

Boise, ID 83720-0010
mike.gilmore@ag.idaho.gov
karin.jones@ag.idaho.gov

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